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                                     October 15, 2023

Sent via email to:

The Honorable Diane J. Humetewa
United States District Court- Pheonix Division
Sandra Day O'Connor U. S. Courthouse
401 W. Jefferson Strett, SPC 625
Courtroom 605
Phoenix, AZ 85004
humetewa_chambers@azd.uscourts.gov

Criminal Justice Act (CJA) Unit- Phoenix Division
cja_evoucher@azd.uscourts.gov

       Re:     USA v. Michael Lacey, et al., CR18-00422-PHX-DJH
               Letter of Explanation for Daily Transcript Request



Your Honor:

CJA Defense counsel is respectfully requesting the daily transcripts for all government
witnesses beginning October 17, 2023, through the conclusion of the government's case. I am
requesting a daily-turnaround. The reason for the expeditious turnaround time is due to the
numerous evidentiary rulings and guidance by the Court regarding subject matters that are or
are not permissable. The transcripts are necessary for effective cross-examination within the
evidentiary bounds set by this Court.



Thank you.

Sincerely,




Eric W. Kessler
EWK/jk
